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EXHIBIT “S”
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Filed 12 March 30 P12:38
Chris Daniel - District Clerk

E1010 16605474
CAUSE NO. 2010-73622 . By: corey hale
ROBERT YOUNG, § IN DISTRICT COURT OF
Plaintiff, §
° § .
VS. § HARRIS COUNTY, TEXAS
BP EXPLORATION & PRODUCTION §
INC., ET AL. . §
§
Defendants. § 234TH JUDICIAL DISTRICT

. DEFENDANT’S ORIGINAL ANSWER TO
INTERVENOR’S ORIGINAL PETITION

Defendant BP Exploration & Production Inc. (“Defendant”) files this Original
Answer in response to the Original Petition in Intervention filed by Elton J. Johnson.

Defendant asserts a general denial as authorized by Rule 92 of the Texas Rules of
Civil Procedure.

WHEREFORE, PREMISES CONSIDERED, Defendant prays that upon final
hearing the Court enter judgment that Intervenor takes nothirig and that Defendant be
awarded its costs of court and such other and further relief to which it may be justly

_ entitled.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing has been
forwarded to counsel of record pursuant to the Texas Rules of Civil Procedure on this

30th day of March, 2012.

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